              Case 4:95-cr-40083-JPG                         Document 292 Filed 11/03/05                       Page 1 of 2       Page ID
                                                                       #119
8 A 0 245D          (Rev. 12103) Judgment in a Criminal Case for Revocations
                    Sheet 1




                                                 SOUTHERN                District of     ILLINOIS
UNITED STATES O F AMERICA                                                       JUDGMENT IN A CRIMINAL CASE
V.                                                                              (For Revocation of Probatlon or Supervised Release)


BERNARD PRYOR                                                                   Case Number:                    4:95CR40083-001-JPG
                                                                                USM Number:                     95722-033
                                                                                Melissa A. Dav, FPD
                                                                                Defendant's Attorney
THE DEFENDANT:
- admitted guilt to violation of condition(s) as alleged in petition                             of the tern of supervision.

- was found in violation of condition(s)                                                     after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                      Nature of Violation                                                             Violation Ended
Statutory                             The defendant was arrested for Possession with Intent to Distribute             07/13/2005
                                      Cannabis ( admits to allegations for this hearing only)




       The defendant is sentenced as provided in pages 2 through                 -2of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0 The defendant has not violated condition(s)
-                                                                                        and is discharged as to such violation(s) condition.

          It is ordered that the defendant must noti the United States attorney for this district within 30 days of any
                                                             8
change of name, residence, or mailing address un all fmes, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notlfy the court and Unlted States attorney of material changes m
economic circumstances.

Defendant's Soc. Sec No.:        ***-**-8034
Defendant's Date ofBirth:        **-**-I953


Defendant's Residence Address:

City: ~ o u n d s                                                                      V
State: IL 62961                                                                 J. Phil Gilbert. District Judge
                                                                                Name and Title of Judge


                                                                                                               ,
                                                                                Date
Defendant's Mailing Address:

Same as above
              Case 4:95-cr-40083-JPG                      Document 292 Filed 11/03/05                     Page 2 of 2     Page ID
                                                                    #120
A 0 245D
    ~    ~
                               -
                 (Rev. 12/03 Judment in a Criminal Case for Revocations
                 Sheet 2- Imprisonment
                                                                                                        Judgment - Page   2
DEFENDANT:                         BERNARD PRYOR
CASE NifMBER:                      4:95CR40083-001-JPG


                                                                IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of :  24 months




        0
        -    The court makes the following recommendations to the Bureau of Prisons:




        - The defendant is remanded to the custody of the United States Marshal,
        - The defendant shall surrender to the United States Marshal for this district:
          0 at
          -                               - a.m.         p.m. on
             0
             -     as notified by the United States Marshal.

        - The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          - before 2 p.m. on
             - as notified by the United States Marshal.
             0 as notified by the Probation or Pretrial Services Office.
             -
                                                                          RETURN
I have executed this judgment as follows:




             Defendant delivered on                                                         to

a                                                        with a certified copy of this judgment.




                                                                                                      UNITED STATES MARSHAL


                                                                             BY
                                                                                                   DEPUTY UNITED STATES MARSHAL
